     Case 2:11-cv-03480-FMO-CW         Document 653 Filed 02/07/20         Page 1 of 2 Page ID
                                            #:15521


1

2

3

4

5

6

7

8                                  UNITED STATES DISTRICT COURT

9                                CENTRAL DISTRICT OF CALIFORNIA

10

11    JAMES ESTAKHRIAN and ABDI NAZIRI, )            Case No. CV 11-3480 FMO (CWx)
      on behalf of themselves and all others )
12    similarly situated,                    )
                                             )
13                        Plaintiffs,        )       ORDER TO SHOW CAUSE RE CONTEMPT
                                             )
14                   v.                      )
                                             )
15    MARK OBENSTINE, et al.                 )
                                             )
16                        Defendants.        )
                                             )
17

18           Having reviewed and considered plaintiffs’ Ex Parte Application for Order to Show Cause

19    Re: Contempt (“Application”) and the hearing held on February 6, 2020,1 IT OS ORDERED THAT:

20           1. Mark Obenstine shall appear before this court, in person, on Thursday, February 27,

21    2020, at 10:00 a.m. in courtroom 6D of the First Street Courthouse, and show cause why:

22           (a)   he should not be held in contempt for violating the injunction issued on November

23                 19, 2017, and incorporated into the Amended Judgment on July 8, 2019 (“Asset

24                 Injunction”), and for failing to appear at the February 6, 2020, hearing as ordered;

25

26       1
            Although the court set a briefing scheduling regarding the Application, and ordered Mark
27    Obenstine (“Obenstine”) to appear at the February 6, 2020, hearing, (see Dkt. 647, Court’s Order
      of January 13, 2020), Obenstine neither filed an opposition nor appeared at the hearing, although
28    his counsel did appear at the hearing.
     Case 2:11-cv-03480-FMO-CW          Document 653 Filed 02/07/20           Page 2 of 2 Page ID
                                             #:15522


1            (b)    he should not be ordered to pay $1,000 per day until he demonstrates full

2                   compliance with the Asset Injunction;

3            (c)    he should not be ordered to post a bond in the amount of $100,000 as security for

4                   any losses suffered by class members as a result of his violations of the Asset

5                   Injunction;

6            (d)    he should not be ordered to pay plaintiffs’ counsel’s fees and costs in connection

7                   with the Application and related proceedings; and

8            (e)    the court should not impose such other relief as the court may deem just and proper

9                   to redress his conduct.

10           2. No later than February 14, 2020, Obenstine shall file a declaration, signed under

11    penalty of perjury, identifying the status of title to, and any loans or encumbrances secured by, the

12    real property located at 909 SW Schaeffer Road, West Linn, Oregon 97068 (the “Property”), and

13    specifically include all financings, refinancings or other transactions pertaining to the Property

14    since November 19, 2017. The declaration shall identify the date of each transaction. Obenstine

15    shall attach to the declaration all documents supporting his declaration.

16           3. The parties shall be prepared to proceed with an evidentiary hearing, if necessary. The

17    parties shall bring all evidence and witnesses they believe support their position.

18           4. Failure to comply with any provisions of this Order shall result in the imposition of

19    sanctions.

20    Dated this 7th day of February, 2020.

21                                                                         /s/
                                                                    Fernando M. Olguin
22                                                               United States District Judge

23

24

25

26

27

28

                                                       2
